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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-10017-CR-KMM(s)
18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. § 1957
18 U.S.C. § 982

UNITED STATES OF AMERICA

vs.

DONALD HOWARD CONKRIGHT,

Defendant.

 

SUPERSEDING INDICTMENT
The Grand Jury charges that:

Count 1

Conspiracy to Commit Money Laundering

(18 U.S.C. § 1956(h))

 

 

FILED BY] ZB D.C.

JAN 14 2020

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
S. D. OF FLA. - MIAMI

 

From at least as early as in or around October 2018, the exact date being unknown to the

Grand Jury, and continuing until at least as late as on or about November 2018, in Miami-Dade

and Monroe Counties, in the Southern District of Florida, and elsewhere, the defendant,

DONALD HOWARD CONKRIGHT,

did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

conspire, confederate, and agree with others known and unknown to the Grand Jury, to commit

offenses against the United States, in violation of Title 18, United States Code, Section 1956, that

is, to knowingly conduct a financial transaction affecting interstate and foreign commerce, which

financial transaction involved the proceeds of specified unlawful activity, knowing the property

 
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involved in the financial transaction represented the proceeds of some form of unlawful activity,
and knowing that such transaction was designed in whole and in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds of specified unlawful activity, in
violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

It is further alleged that the specified unlawful activity is conspiracy to commit wire fraud,
in violation of Title 18, United States Code, Section 1349, and wire fraud, in violation of Title 18,
United States Code, Section 1343.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT 2
Money Laundering
(18 U.S.C. § 1956(a)(1)(B)())

On or about November 14, 2018, in Miami-Dade County, in the Southern District of

Florida, and elsewhere, the defendant,
DONALD HOWARD CONKRIGHT,

did knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, that is payment of $72,008.00 using a Cashier’s Check from Iberia Bank
account ending in 1139, which financial transaction involved the proceeds of specified unlawful
activity, knowing that the property involved in the financial transaction represented the proceeds
of some form of unlawful activity, and knowing that the transaction was designed, in whole and
in part, to conceal and disguise the nature, location, source, ownership, and control of the proceeds
of specified unlawful activity, in violation of Title 18, United States Code, Sections

1956(a)(1)(B)(i) and 2.
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It is further alleged that the specified unlawful activity is conspiracy to commit wire fraud,
in violation of Title 18, United States Code, Section 1349, and wire fraud, in violation of Title 18,
United States Code, Section 1343.

COUNTS 3-4
Money Laundering
(18 U.S.C. § 1957)

On or about the dates specified below, in Miami-Dade and Monroe Counties, in the
Southern District of Florida, and elsewhere, the defendant,
DONALD HOWARD CONKRIGHT,
did knowingly engage in and attempt to engage in monetary transactions affecting interstate
commerce by, through, and to a financial institution, in criminally derived property of a value
greater than $10,000, such property having been derived from a specified unlawful activity, and
knowing that the property involved in the financial transactions represented the proceeds of some

form of unlawful activity, as more particularly described in each count below:

 
   

| Wire transfer in the approximate amount of $128,029.87
from Iberia Bank account ending in 4241 to Bank of

3 November 15, 2018 America account ending in 9711.

 

Wire transfer in the approximate amount of $69,205.00
from Iberia Bank account ending in 1139 to Wells Fargo

4 November 16, 2018 account ending in 5050.

 

 

 

 

 

It is further alleged that the specified unlawful activity is conspiracy to commit wire fraud,
in violation of Title 18, United States Code, Section 1349, and wire fraud, in violation of Title 18,
United States Code, Section 1343.

In violation of Title 18, United States Code, Sections 1957 and 2.
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FORFEITURE ALLEGATIONS
(18 U.S.C. § 982(a)(1))

1. The allegations contained in this Superseding Indictment are hereby re-alleged and
by this reference fully set forth herein for the purpose of alleging criminal forfeiture to the United
States of America of certain property in which the defendant, DONALD HOWARD
CONKRIGHT, has an interest.

2. Upon conviction of any violation of Title 18, United States Code, Sections 1956
and 1957, as alleged in this Superseding Indictment, the defendant shall forfeit to the United States
of America, any property, real or personal, involved in such offense, and any property traceable to
such property, pursuant to Title 18, United States Code, Section 982(a)(1).

3. The property subject to forfeiture as a result of the alleged offenses includes, but is
not limited to, the following:

(1) $329,287.44 in U.S. funds seized from Iberia Bank account x1139 in the name
of DONALD HOWARD CONKRIGHT, plus any accrued interest, recalled
items, and return items; and

(ii) $324,089.05 in U.S. funds seized from Iberia Bank account x4241 in the name
of DONALD HOWARD CONKRIGHT, plus any accrued interest, recalled
items, and returned items.

4. If any of the property subject to forfeiture, as a result of any act or omission of the
defendants:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
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e. has been commingled with other property which cannot be divided without
difficulty.
the United States shall be entitled to forfeiture of substitute property under the provisions of Title
21, United States Code, Section 853(p).
All pursuant to Title 18, United States Code, Section 982(a)(1), and the procedures set forth
at Title 21, United States Code, Section 853, as incorporated by Title 18, United States Code,
Section 982(b).

A TRUE BILL

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ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

So

LINDSEY LAZOKOPLOS FRIEDMAN
ASSISTANT UNITED STATES ATTORNEY
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO. 19-10017-CR-KMM(s)

Vv.

CERTIFICATE OF TRIAL ATTORNEY*

DONALD HOWARD CONKRIGHT,

Superseding Case Information:

 

Defendant J
Court Division: (Select One) New defendant(s Yes No v
__ Miami _¥_ Key West Number of new defendants
__ FIL __ WPB __ FIP Total number of counts
1. I have carefully considered the allegations of the indictment, the number of defendants, the number of

probable witnesses and the legal complexities of the Indictment/Information attached hereto.

2. I am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial

Act, Title 28 U.S.C. Section 3161.

3. Interpreter: (YesorNo) No
List language and/or dialect

 

 

 

 

 

 

 

 

 

 

 

 

 

4. This case will take 4-5 days for the parties to try.
5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
I 0 to 5 days Y Petty
II 6 to 10 days Minor
Il 11 to 20 days Misdem.
IV 21 to 60 days Felony
Vv 61 days and over
6. Has this case previously been filed in this District Court? (Yes or No) Yes
If yes: Judge Moore Case No. 10017
(Attach copy of dispositive order)
Has a complaint been filed in this matter? (YesorNo) No
If yes: Magistrate Case No.
Related miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to August 9, 2013 (Mag. Judge Alicia O. Valle)? Yes No_*
8. Does this case originate from a matter pending in the Northern Region U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? Yes No_/”

 

 

Lindsey Kezopohios Friedman
Assistant United States Attorney

Fla. Bar No. 091792

*Penalty Sheet(s) attached

REV 8/13/2018
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant’s Name: DONALD HOWARD CONKRIGHT

 

Case No:___19-10017-CR-KMM(s)
Count #: 1

Conspiracy to Commit Money Laundering

 

Title 18, United States Code, Section 1956(h)
*Max. Penalty: 20 years’ imprisonment
Count #: 2

Money Laundering

 

Title 18, United States Code, Section 1956(a)(1)(B)(i)
*Max. Penalty: 20 years’ imprisonment

Counts #: 3-4

Money Laundering

Title 18, United States Code, Section 1957

*Max. Penalty: 10 years’ imprisonment

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
